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 1                                                     CHIEF JUDGE RICARDO S. MARTINEZ
 2
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 4
 5
                              UNITED STATES DISTRICT COURT
 6
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT TACOMA

 8
     UNITED STATES OF AMERICA,                         )   No. CR21-5283-RSM
 9                                                     )
                     Plaintiff,                        )
10                                                     )   ORDER GRANTING DEFENSE
                v.                                     )   STIPULATED MOTION TO
11                                                     )   CONTINUE TRIAL DATE AND
     JERIMIAH McCRORY,                                 )   PRETRIAL MOTIONS DUE DATE
12                                                     )
                     Defendant.                        )
13                                                     )
14          THE COURT has considered the defendant’s stipulated motion to continue trial

15   date and pretrial motions deadline and the facts and circumstances described therein,

16   which are hereby incorporated as findings of fact, and finds that:

17          (a) taking into account the exercise of due diligence, a failure to grant a

18   continuance in this case would deny counsel for the defendant the reasonable time

19   necessary for effective preparation due to counsel’s need for more time to review the

20   evidence, consider possible defenses, and gather evidence material to the defense, as set

21   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

22          (b) a failure to grant such a continuance in this proceeding would likely result in

23   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

24          (c) the additional time requested is a reasonable period of delay, as the defendant

25   has requested more time to prepare for trial, to investigate the matter, to gather evidence

26   material to the defense, and to consider possible defenses; and

                                                                    FEDERAL PUBLIC DEFENDER
       ORDER TO CONTINUE TRIAL AND                                       1331 Broadway, Suite 400
       PRETRIAL MOTIONS DUE DATE                                               Tacoma, WA 98402
       (United States v. McCrory, CR21-5283-RSM) - 1                               (253) 593-6710
              Case 3:21-cr-05283-RSM Document 39 Filed 09/29/21 Page 2 of 2




 1          (d) the case is sufficiently complex that it is unreasonable to expect adequate
 2   preparation for pretrial proceedings or the trial itself within the current trial schedule, as
 3   set forth in 18 U.S.C. § 3161(h)(7)(B)(ii); and
 4          (e) the ends of justice will best be served by a continuance, and the ends of
 5   justice outweigh the best interests of the public and the defendant in any speedier trial,
 6   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 7          (f) the additional time requested between the current trial date of October 18,
 8   2021, and the new trial date is necessary to provide counsel for the defendant the
 9   reasonable time necessary to prepare for trial, all of the facts set forth above; and
10          (g) that the period of delay from the date of this motion to the new trial date is
11   excludable time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
12          IT IS THEREFORE ORDERED that the trial date in this matter shall be
13   continued to March 21, 2022, and that pretrial motions shall be filed no later than
14   February 3, 2022.
15          DONE this 29th day of September, 2021.
16
17                                                     A
                                                       RICARDO S. MARTINEZ
18                                                     CHIEF UNITED STATES DISTRICT
                                                       JUDGE
19
20
     Presented by:
21
         s/ Rebecca Fish                                 s/ Rebecca Cohen
22
         Assistant Federal Public Defender               Assistant United States Attorney
23
         s/ Colin Fieman
24       Assistant Federal Public Defender
25       Attorneys for Jeremiah McCrory

26

                                                                     FEDERAL PUBLIC DEFENDER
       ORDER TO CONTINUE TRIAL AND                                        1331 Broadway, Suite 400
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